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        EXHIBIT 2
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 7
                                   STATE OF WASHINGTON
 8                             PIERCE COUNTY SUPERIOR COURT

 9   DEPARTMENT OF LABOR AND                           NO. 24-2-05626-8
     INDUSTRIES,
10                                                     DECLARATION OF ELLIOTT
                                Plaintiff,             FURST
11
        v.
12
     GEO SECURE SERVICES, LLC,
13
                                Defendant.
14

15           I, Elliott Furst, declare under the penalty of perjury under the laws of the United

16   States that the following is true and correct.

17      1. I am over the age of eighteen and am otherwise competent to testify. I make these

18           statements on personal knowledge and belief.

19      2. I represent the Department of Labor and Industries and am familiar with this matter.

20      3. I learned that GEO Services, Inc. had filed a motion to quash the Department of Labor

21           and Industries’ warrant for GEO’s workplace at the Northwest ICE Processing Center.

22      4. No declaration from United States Immigrations and Customs Enforcement (ICE) was

23           filed with the motion.

24      5. I communicated with GEO’s attorney, Harry Korrell, about the motion to quash; and I

25           requested GEO hold off in seeking to prosecute its motion to quash pending further

26           review by L&I. He agreed.


       DECLARATION OF ELLIOTT FURST                      1                ATTORNEY GENERAL OF WASHINGTON
                                                                             LABOR & INDUSTRIES DIVISION
                                                                                800 Fifth Avenue, Suite 2000
                                                                                  Seattle, WA 98104-3188
                                                                                       (206) 464-7740


                                                                              Exhibit 2, Page 1 of 2
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 1    6. An issue has come up with the lack of the docket number, as explained in the

 2       Declaration of Eric Smith. I explained the problem to Mr. Korrell. It is my

 3       understanding that the clerk believed only a warrant number was needed to file the

 4       warrant, and the judicial assistant for the Presiding Judge indicated a docket number

 5       was needed.

 6    Dated this 29th day of January 2024, in Seattle, WA by

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10                                            Elliott Furst, WSBA No. 12026

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     DECLARATION OF ELLIOTT FURST                   2               ATTORNEY GENERAL OF WASHINGTON
                                                                       LABOR & INDUSTRIES DIVISION
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                                                                        Exhibit 2, Page 2 of 2
